                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 BARRY HONIG,                               )
                                            )
                      Plaintiff,            )
                                            )
               v.                           )                 1:17-CV-184
                                            )
 ROBERT LADD, MGT CAPITAL                   )
 INVESTMENTS, INC.,TERI BUHL,               )
 and DOES 1 - 20,                           )
                                            )
                      Defendants.           )

                                        ORDER

        The defendants Robert Ladd and MGT Capital move to dismiss the complaint for

failure to state a claim. The Court concludes that the complaint states claims on which

relief may be granted for libel and slander, unfair trade practices pursuant to Chapter 75,

and conspiracy to defame and to engage in unfair trade practices. At this stage the Court

need not resolve what state law applies, as the complaint appears generally adequate

under any potentially applicable state law to assert libel and slander claims and the choice

of law decision will be better made on a more developed factual record. See Terry v.

Swift Transportation, No. 1:16cv256, 2017 WL 1013074, at *7 (M.D.N.C. Mar. 14,

2017) (Auld, M.J.), recommendation adopted, No. 1:16cv256, 2017 WL 2881141

(M.D.N.C. July 6, 2017). Allowing the Chapter 75 claim to remain in the case will not

require additional discovery beyond that otherwise required to prosecute or defend the

case.




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       Whatever state law applies, the complaint fails to state a claim for interference

with prospective economic advantage and for conspiracy to interfere with prospective

economic advantage, as the allegations are entirely conclusory. While a plaintiff need

not prove his case by his complaint, the complaint must provide enough facts to make the

cause of action plausible. That has not been done here.1

       It is ORDERED that the motion to dismiss filed by the defendants Robert Ladd

and MGT Capital, Doc. 19, is GRANTED in part and DENIED in part as follows:

       1. The motion is GRANTED as to the plaintiff’s interference with prospective

          economic advantage and conspiracy to interfere with prospective economic

          advantage claims and those claims are DISMISSED.

       2. The motion is DENIED as to the remaining claims asserted against Robert

          Ladd and MGT Capital.

       It is further ORDERED that should the plaintiff file a motion to amend the

complaint to assert the interference claims with more specificity, resolution of that

motion shall not delay discovery and a Rule 26(f) conference. The motion to dismiss

filed by the defendant Teri Buhl, Doc. 27, remains under advisement.

       This the 24th day of August, 2017.

                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE

   1
      Mr. Honig contends that “the Court should not follow” the New York case law cited by the
defendants. Doc. 31 at 39 nn. 14, 15. However, he makes no argument to support his
contention. This will not do, and Mr. Honig should expect any such perfunctory arguments to be
ignored in the future. Hughes v. B/E Aerospace, Inc., No. 1:12CV717, 2014 WL 906220, at *1
n.1 (M.D.N.C. Mar. 7, 2014) (“A party should not expect a court to do the work that it elected
not to do.”).
                                                2



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